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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :
                                                 :      Criminal. No.: 21-MJ-22 (ZMF)
JOHN LOLOS,                                      :
                                                 :      UNDER SEAL
               Defendant.                        :


                                  NOTICE OF APPEARANCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to

Assistant United States Attorney, Christopher Berridge, who may be contacted by telephone on

(202) 252-6685 or e-mail at Christopher.Berridge@usdoj.gov. This is notice of their appearance

in this matter on behalf of the United States.



                                                 Respectfully submitted,

                                                 MICHAEL R. SHERWIN
                                                 ACTING UNITED STATES ATTORNEY
                                                 NEW YORK BAR NO. 4444188

                                      By:        __/s/ Christopher A. Berridge_______
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                                CERTIFICATE OF SERVICE

       On this 14th day of January, 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                              __/s/ Christopher A. Berridge_______
                                              Christopher A. Berridge
                                              Assistant United States Attorney
